                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                              CASE NO: 5:17-CV-356-FL

RICARDO MONDRAGON, EUSTORGIO )
ESPINOBARROS FELICIANO,                  )
JUAN CONTRERAS, CUTBERTO ORTIZ )
HERNÁNDEZ, ALEJANDRO JIMENEZ )
GONZALEZ, RENATO ROMERO                  )
ACUÑA, JOSÉ TAPIA, ANASTACIO             )
LOPEZ SOLIS, and ABDON QUIRASCO )
SIXTECO, on behalf of themselves and all )
other similarly situated persons,        )
                                         )
                Plaintiffs,              )
                                         )
v.                                       )
                                         )
SCOTT FARMS, INC., ALICE H. SCOTT, )
LINWOOD H. SCOTT, JR., LINWOOD H. )
SCOTT III, DEWEY R. SCOTT, JFT           )
HARVESTING INC., JUAN F. TORRES )
OASIS HARVESTING, INC.,                  )
and RAMIRO B. TORRES                     )
                                         )
                Defendants.              )
                                         )

  ORDER GRANTING FINAL APPROVAL OF COLLECTIVE ACTION AND CLASS
                       ACTION SETTLEMENT


       This matter comes before the Court to consider final approval of the parties’ Settlement

Agreement. DE 202-2. The parties have jointly requested the Court to approve the Settlement

Agreement and have mutually agreed to the entry of this Order granting final approval of the

settlement.

       Having reviewed the parties’ Joint Motion for Preliminary Approval of Collective Action

and Class Action Settlement, Joint Memorandum in support thereof, Defendants’ declaration

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documenting the distribution of the Class Notice (DE 215), Class Counsel’s declaration that no

written objections have been received (DE 216), and the representations of counsel for the party

at the final approval hearing on January 21, 2020, the Court now FINDS, CONCLUDES,

DECREES and ORDERS as follows:

       (1) This Court has jurisdiction over the subject matter of the litigation and over all parties

           to this litigation, including all members of the certified classes.

       (2) Neither the Settlement, nor the final approval order, nor the fact of a settlement, are

           an admission or concession by the Defendants of any liability or wrongdoing

           whatsoever.

       (3) Counsel for the Plaintiffs have adequately represented Plaintiff class members to date.

       (4) The Court granted preliminary approval of the Settlement and of the joint motion for

           class notice on November 18, 2019, DE 210 and 211, and Defendant provided timely

           notice to the class. Plaintiff class members have been provided proper and adequate

           notice of the terms of this Settlement Agreement, as well as the applicable dates and

           procedure by which to submit any objections. No such objections to the terms of the

           Settlement Agreement, or the Settlement Agreement’s final approval by this Court,

           have been received from any Plaintiff class member.

       (5) The terms of the Settlement are hereby approved, including the total settlement

           payments to the class outlined in the Settlement Agreement (DE 202) in the

           individual amounts listed in the Class Notice (DE 215-1 and 215-2), the total payment

           of $14,000 as incentive payments to the class representatives to be distributed as

           described in the parties’ Memorandum, DE 204 at p.13, payment of $72,573.32 in

           attorneys’ fees and $9,024.04 in costs to the North Carolina Justice Center, and



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   payment of $88,700.73 in attorneys’ fees and $4,701.91 in costs to the Law Office of

   Robert J. Willis, P.A. As described in Paragraph 11 of the Settlement Agreement, for

   a three year period starting from 18 August 2019, during any time period(s) covered

   by any certified H-2A clearance order for H-2A workers at Scott Farms, Inc., Scott

   Farms, Inc. shall pay the Adverse Effect Wage Rate to all Scott Farms, Inc.

   employees who perform work included within the following job classifications:

   ONET SOC code 45-2092.00 – Farmworkers and Laborers, Crop, Nursery, and

   Greenhouse

   ONET SOC Code 45-2091.00 – Agricultural Equipment Operators

   or any other ONET SOC code used on such certified H-2A clearance order(s) for H-

   2A workers who will perform work at Scott Farms, for any labor certification for

   temporary agricultural employment in the United States issued by the U.S.

   Department of Labor and/or any other agency of the government of the United States

   that may later assume responsibility for such certification. The obligation of Scott

   Farms, Inc. to pay the Adverse Effect Wage Rate for a particular agricultural season

   shall end if the petitioners for H-2A workers at Scott Farms declare contract

   impossibility pursuant to 20 C.F.R. § 655.122(o).

(6) After holding a fairness hearing on January 21, 2020, the Court finds that the

   Settlement is fair and adequate and a reasonable and equitable compromise of the

   claims in this case; that the Settlement is the result of extensive, arms-length

   bargaining between the parties, after Plaintiffs’ Counsel had investigated the class

   claims and become familiar with the strengths and weaknesses of the case; that the

   class representatives have adequately represented the classes; that the Settlement is in



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          the best interest of the named Plaintiffs and of the classes they have been certified to

          represent; and that the Settlement falls within the range of reasonableness and of final

          approval.



SO ORDERED.



This the ____          January
         24th day of _________________, 2020.



__________________________________________
United States District Judge




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                                CERTIFICATE OF SERVICE

I hereby certify that on this date a true and correct copy of the foregoing document was
electronically filed with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:

Marshall Wall, Esq.
Laura Dean, Esq.
Andrew Jackson, Esq.



                                           This the 23rd day of January, 2020.


                                           /s/ Carol L. Brooke
                                           Carol L. Brooke, Esq.
                                           N.C. Bar No.: 29126




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